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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                     )
 DYSON, INC. and                                     )
 DYSON TECHNOLOGY LIMITED,                           )
                                                     )
                                                         Case No. 14-cv-779
                 Plaintiffs,                         )
                                                     )
                                                         Judge John W. Darrah
         v.                                          )
                                                         Magistrate Susan E. Cox
                                                     )
 SHARKNINJA OPERATING LLC and                        )
                                                         JURY TRIAL DEMANDED
 SHARKNINJA SALES COMPANY,                           )
                                                     )
                 Defendants.                         )
                                                     )

                          NOTICE OF PRESENTMENT OF MOTION

       PLEASE TAKE NOTICE that, on Wednesday, September 21, at 9:30 a.m., or at such

time as is convenient for the Court, Defendants SharkNinja Operating LLC and SharkNinja Sales

Company (collectively “SharkNinja”) shall appear before the Honorable Susan E. Cox or any

judge who may be sitting in her stead in the United States District Court for the Northern District

of Illinois, Eastern Division, located at 219 South Dearborn Street, Room 1025, Chicago,

Illinois, and shall then and there present its motion for letters of request for the depositions of

certain individuals in the United Kingdom, Singapore, and Denmark (Dkt. 235-1), which was

referred by Judge Darrah (Dkt. 265).
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Dated: September 12, 2016

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                                           Company




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                                  CERTIFICATE OF SERVICE

          The undersigned attorney hereby certifies that on September 12, 2016, a true and correct

copy of the foregoing was filed electronically with the Clerk of the Court and was served via the

Court’s CM/ECF System which will automatically provide electronic notice upon all counsel of

record.

                                       /s/ John C. Evans
